Case 1:22-cv-00566-CCR Document 1-2 Filed 07/21/22 Page 1 of 7




EXHIBIT A
FILED: NIAGARA COUNTY CLERK 01/31/2022 04:23 PM                                            INDEX NO. E176738/2022
NYSCEF DOC. NO. 1 Case 1:22-cv-00566-CCR Document 1-2 Filed 07/21/22 Page 2 of 7NYSCEF: 01/31/2022
                                                                     RECEIVED
               IMMEDIATELY TURN THESE PAPERS OVER TO YOUR INSURANCE REPRESENTATIVE
                 YOUR FAILURE TO DO THIS MAY SUBJECT YOU TO PERSONAL AND FINANCIAL
                                                     RESPONSIBILITY

         STATE OF NEWYORK
         SUPREMECOURT          :   COUNTYOFNIAGARA


         BMDLEY ALLEN                                                 SUMilIONS
         2660 Porter Road
         Niagara Falls, New York 14305                                lndex No.:


                                        Plaintiff,


         WALMART SUPERCENTER STORE #1909
         '1540 Military Road
         Niagara Falls, New York 14304

         WAL.MART REAL ESTATE BUSINESS TRUST
         2001 S.E. 10s Street,
         Bentonville, 4K72712

         WAL.MART STORES EAST, LP
         702 S.W. 8b Street
         Bentonville, 4K72716

          WAL-MART INC.
          702 S.W. 8s Street
          Bentonville, 4K72716
                                        Defendant(s).


          TO THE ABOVE NAMED DEFENDANT:

                 YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to serve

          a copy of your Answer, or, if the Complaint is not served with the Summons, to serve a Notice of

          Appearance on the Plaintiffs attorney within twenty (20) days afler the service of this Summons,

          exclusive of the date of service, where service made by delivery upon you personally within the

          state, or within thirty (30) days after completion of service where service is made in any other

          manner. ln case of your failure to appear or answer, judgment will be taken against you by

          default for the relief demanded in the Complaint.

                 Plaintiff designates Niagara County as the place of trial. The basis of the venue is the

          Plaintiffs residence. The nature of the action is recovery for negligence. The relief sought is

          monetary damages.




                                                         1 of 2
FILED: NIAGARA COUNTY CLERK 01/31/2022 04:23 PM                                    INDEX NO. E176738/2022
NYSCEF DOC. NO. 1 Case 1:22-cv-00566-CCR Document 1-2 Filed 07/21/22 Page 3 of 7NYSCEF: 01/31/2022
                                                                     RECEIVED
             IMMEDIATELY TURN THESE PAPERS OVER TO YOUR INSURANCE REPRESENTATIVE
               YOUR FAILURE TO DO THIS MAY SUBJECT YOU TO PERSONAL AND FINANCIAL
                                         RESPONSIBILITY




               January 31, 2022                    THE LONG FIRM
               Buffalo, New York


                                                   Wlliam A. Long, J
                                                   Attorney for Plaintiff
                                                   37 Franklin Street, Suite 750
                                                   Buffalo, New York 14202
                                                   Telephone: (716) 362-1 I 39




                                             2 of 2
FILED: NIAGARA COUNTY CLERK 01/31/2022 04:23 PM                                               INDEX NO. E176738/2022
NYSCEF DOC. NO. 2 Case 1:22-cv-00566-CCR Document 1-2 Filed 07/21/22 Page 4 of 7NYSCEF: 01/31/2022
                                                                     RECEIVED

              IMMEDIATELY TURN THESE PAPERS OVER TO YOUR INSURANCE REPRESENTATIVE
                YOUR FAILURE TO DO THIS MAY SUBJECT YOU TO PERSONAL AND FINANCIAL
                                                     RESPONSIBILITY

         STATE OF NEWYORK
         SUPREMECOURT          :   COUNTYOFNIAGARA


         BMDLEY ALLEN
         2660 Porter Road
         Niagara Falls, New York '14305                               COMPLAINT

                                                                      lndex No.:
                                        Plaintiff,


         WALMART SUPERCENER STORE #1909
         1540 Military Road
         Niagara Falls, NY 14304

         WAL-MART REAL ESTATE BUSINESS TRUST
         2001 S.E. 10h Street
         Bentonville, AK72712

         WAL-MART STORES EAST, LP
         702 S.W. 8h Street
         Bentonville, AK72716

         WAL-MART INC.
         702 S.W. 8t Street
         Bentonville, AK72716
                                        Defendant(s).


             Plaintiff BRADLEY ALLEN, by and through his attorney(s) The Long Firm, LLP, for his

          complaint against defendants, Defendants, Wal-Mart Real Estates Business Trust, Wal-Mart

          East, LP, and Walmart, lnc., alleges as follows, upon information and belief:

             L    At all relevant times herein, Plaintiff BRADLEY ALLEN was and is a resident of the Cit of

          Niagara Falls, County of Niagara, and State of New York.

             2.   At all relevant times herein, Defendant Wal-Mart Real Estate Business Trust was and

          still is a foreign corporation authorized to do business within the state of New York.

             3. At all relevant    times herein, Defendant wal-Mart Stores East, LP was and still is a

          foreign corporation authorized to do business within the State of New York.




                                                         1 of 4
FILED: NIAGARA COUNTY CLERK 01/31/2022 04:23 PM                                                INDEX NO. E176738/2022
NYSCEF DOC. NO. 2 Case 1:22-cv-00566-CCR Document 1-2 Filed 07/21/22 Page 5 of 7NYSCEF: 01/31/2022
                                                                     RECEIVED

              IMMEDIATELY TURN THESE PAPERS OVER TO YOUR INSURANCE REPRESENTATIVE
                YOUR FAILURE TO DO THIS MAY SUBJECT YOU TO PERSONAL ANO FINANCIAL
                                                     RESPONSIBILITY

            4. At all relevant        times herein, Defendant Wal-Mart Stores East, LP is a foreign limited

         partnership authorized to do business in the State of New York and maintains offices for the

         transaclion of business at 't 540 Military Road, City of Niagara Falls, County of Niagara and

         State of New York (the 'Walmart Supercente/').

             5.    At all relevant times herein, Defendant Wal-Mart Stores East, LP was a foreign limited

         partnership duly operating and conducting business as Walmart Supercenter in the State of

         New York.

             6.    At all relevant times herein, Defendant Walmart lnc. was and still is a foreign corporation

         authorized to do business within the State of New York.

             7. At all relevant times       herein, Defendant Wal-Mart Real Estate Business Trust was the

         owner of a certain premises known as Walmart Supercenter #1909, located at 1540 Military

         Road,         city of Niagara Falls, county of Niagara, and state of New York (the "walmart
         Supercenter").

             8.        At all relevant times herein, Defendant Walmart Supercenter Store #1909 has conducled

         business at 1540 Military Road, City of Niagara Falls, County of Niagara and State of New York

          and as such, personal jurisdiction is confened upon this court pursuant to CPLR 302(aX1).

             9.        At all relevant times herein, the Defendant Walmart Supercenter Store #1909 has leased

          and/or owned and/or controlled and/or managed and/or maintained the premises commonly

          known as Walmart Supercenter Store #1909 in the City of Niagara Falls, County of Niagara and

          the State of New York.

             10.       At all   relevant times herein, Defendant wal-Mart stores East, LP controlled and

          operated the Walmart Supercenter.

              1   1.   At all relevant times herein, Defendant Wal-Mart Stores East, LP leased the premises at

          1540 Military Road, City of Niagara Falls, County of Niagara and State of New York'




                                                          2 of 4
FILED: NIAGARA COUNTY CLERK 01/31/2022 04:23 PM                                                          INDEX NO. E176738/2022
NYSCEF DOC. NO. 2 Case 1:22-cv-00566-CCR Document 1-2 Filed 07/21/22 Page 6 of 7NYSCEF: 01/31/2022
                                                                     RECEIVED

               IMMEDIATELY TURN THESE PAPERS OVER TO YOUR INSURANCE REPRESENTATIVE
                 YOUR FAILURE TO DO THIS MAY SUBJECT YOU TO PERSONAL AND FINANCIAL
                                                      RESPONSIBILITY

             12.    Al all relevant times herein, Defendant Walmart lnc. controlled and operated the
         Walmart Supercenter.

             13. At all relevant times herein, Defendants were responsible             for inspecting and maintaining

         the Walmart Supercenter.

             14.     On or about January 31, 2019, plaintiff BRADLEY ALLEN was a laMul patron at the

         Walmart Supercenter.

             15. On or about January 31, 2019, plaintiff BRADLEY ALLEN was caused to slip and fall on

         the floor within the Walmart Supercenter and, as a result, suffered severe, permanent and

         disabling physical injuries.

             't6.    The incident described above occuned solely as                  a   result   of the carelessness,
         recklessness and/or negligence of the Defendants, their servants, agents, employees, and/or

         others for whom Defendants are responsible, without any fault attributable in any measure to

         plaintiff BRADLEY ALLEN.

             17. The carelessness, recklessness and/or negligence of                the Defendants included causing,

         creating and/or contributing to a dangerous condition, failing to provide a safe environment,

         failing to maintain the premises in a reasonably safe condition, failing to warn Plaintiff of a

          dangerous condition, and failing to properly inspect the premises.

             '18.    By reason of Defendants' negligence, Plaintiff has sustained severe,                   permanent,

          disabling physical injuries and pain and suffering, has been unable to perform his normal and

          customary activities and duties, and has incuned economic loss.

              '19.   The limitations of liability set forth in CPLR Article   "16   do not apply here; one or more of

          the exemptions set forth in CPLR 1602 applies.

                                                 For A First Cause of Action

              20. Plaintiff repeats and realleges the allegations in the paragraphs above as if fully set forth

           herein.




                                                            3 of 4
FILED: NIAGARA COUNTY CLERK 01/31/2022 04:23 PM                                                 INDEX NO. E176738/2022
NYSCEF DOC. NO. 2 Case 1:22-cv-00566-CCR Document 1-2 Filed 07/21/22 Page 7 of 7NYSCEF: 01/31/2022
                                                                     RECEIVED

              IMMEDIATELY TURN THESE PAPERS OVER TO YOUR INSURANCE REPRESENTATIVE
                YOUR FAILURE TO DO THIS MAY SUBJECT YOU TO PERSONAL AND FINANCIAL
                                          RESPONSIBILITY

            2"1.The incident described above occuned as a result of Defendants' negligence and/or

          recklessness without any negligence attributable in any measure to plaintiff BRADLEY ALLEN.

            22. As   a result of Defendants' negligence and/or recklessness, plaintiff BRADLEY ALLEN

          was injured and has suffered damages in an amount that exceeds the jurisdictional limits of all

          lower courts that would otheMise have jurisdiction.

            WHEREFORE,       the Plaintiff demands judgment against the         Defendants, jointly and

          severally, in the First Cause of Action in an amount that exceeds the jurisdictional limits of

          all lower courts that would otheruvise have jurisdiction; and for such other, further, or

          different relief as the Court may deem just and proper, together with the costs and

          disbursements of the action.



         Dated: January 31,2022                                 THE LONG FIRM, LLP
                Buffalo, New York




                                                                37 Franklin Street, Suite 750
                                                                Buffalo, New York 14202
                                                                Telephone: (716) 362-1 1 39




                                                      4 of 4
